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                      State
                      State of
                            of Florida
                               Florida




        Immigration
        Immigration Enforcement
                     Enforcement
             Operations
             Operations Plan
                         Plan


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   Introduction
   Over the years, a commonality of interests during mass immigration emergency events has shown
   the Federal and State governments that they work best when they work cooperatively. This is as true
   today as it was decades ago, and both Florida and the Federal government have a history of working
   closely and well together. Florida's approximately 47,000 law enforcement oƯicers at all levels have
   already received, or are in the process of obtaining, training and certification to act as cross-
   designated immigration oƯicers under the 287g program, thus providing a robust force multiplier
   throughout the state for Federal immigration enforcement operations. But much more can be done.

   Background
   One of the first actions taken by President Donald Trump was to declare a national border and
   immigration emergency. He directed the military to assist in promptly beginning reconstruction of
   the long-unfinished border wall, and he named a “border czar” (Senior Advisor to the President Tom
   Homan, a seasoned former Immigration and Customs Enforcement (ICE) leader who came up from
   the ranks) to spearhead operations to seal the border, and to remove alien terrorists, gang members
   and criminals, as well as aliens under unexecuted Final Orders of Removal, from the interior of the
   U.S.

   For perspective, it's estimated that during the four open border years of the Biden administration,
   nearly 10 million aliens entered the United States, most illegally, but also a significant number under
   a legally dubious “parole” program that appeared to violate, on its face, the plain language of the
   parole statute. To cite the New York Post—

          The US has seen its largest surge in immigration in its history under the Biden
          Administration — surpassing the Ellis Island-era migration boom that changed
          the face of the nation forever, according to a shocking new analysis.
          An average of 2.4 million immigrants per year poured into the US between 2021
          and 2024, according to the Congressional Budget Office. About 60% of the
          migrants crossed into the US illegally, a Goldman Sachs analysis found.


   Florida, too, has been under a state of immigration emergency, first declared by Governor Ron
   DeSantis on January 6, 2023 and extended on December 9, 2024. Florida has about 1,350 miles of
   coastline (longest of the 48 contiguous states), extending into the Gulf of America and close to the
   shores of various Caribbean countries such as Cuba and Haiti, realities that have over the years
   made it vulnerable to mass maritime migration. But it would be a mistake to consider Florida's illegal
   immigration issues as stemming solely from a maritime perspective. It's geographic position,
   ambient culture, and the confluence of three major interstate highways (I-10, I-75 and I-95) have
   made it attractive to criminal organizations smuggling everything from aliens to drugs to guns and
   money.

   A July 2024 Pew Research Center report, using 2022 numbers, estimated Florida's illegal alien
   population at 1.2 million, adding that—




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           Most U.S. states’ unauthorized immigrant populations stayed steady from 2019
           to 2022. However, six states showed significant growth...Florida (+400,000)....
           (emphasis added)

   There can be little doubt that the illegal alien population of Florida increased even further in the two
   final years of the Biden administration.

   Purpose and Scope
   We are proposing an integrated Federal-Florida State approach that encompasses the entire illegal
   alien identification-apprehension-detention-removal cycle. We believe that this approach could be
   leveraged to mitigate many of the bottlenecks that attend to the detention and removal portions of
   the existing cycle, not just in Florida but nationally.

   The type of synergy envisioned is transformational, in that it provides sustainable, consistent and
   repeatable operations through upward and downward flows in the identification-apprehension-
   detention-removal cycle and, not least, makes the best possible use of taxpayer dollars. The key is
   in scalability, which is where the expertise of Florida's Department of Emergency Management
   shines through. The Florida National Guard also plays a key role in addressing existing bottlenecks in
   the identification-apprehension-detention-removal cycle, by providing personnel, materiél, and both
   ground and air mechanisms that could be leveraged particularly for the detention and removal
   segments of the cycle.

   The purpose of this document is to put forward a road map for the significant role that the State of
   Florida can play in aiding the Federal government in combating illegal immigration during the present
   emergencies and going forward into the future. This plan outlines the operational capabilities that
   the State of Florida possesses as well as the actions that have and will be taken in order to fulfill the
   current immigration enforcement mission. The plan includes federal, state, and local agency roles
   and capabilities to ensure successful execution as well as outlines specific concerns that have been
   identified in regard to partnering with the federal government in this operation and what the State’s
   capabilities could be if Florida were to conduct this mission separate from the federal government.

   Objectives
       x   Prevent unauthorized maritime border incursions
       x   Reduce the number of illegal aliens residing in the State of Florida through coordinated
           enforcement and compliance eƯorts
       x   Enhance intelligence collection and analysis by leveraging existing state databases and
           interagency coordination
       x   Support federal immigration and border security operations by providing logistical and
           operational assistance
       x   Develop a comprehensive plan to maintain state-led border security operations in the
           absence of federal support
       x   Develop a course of action that plans for the state of Florida to operate without federal
           assistance


   State Authorities and References
       x   Chapter 908, Florida Statutes - Federal Immigration Enforcement

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      x   Chapter 23, Part I, Florida Statutes - Florida Mutual Aid Act
      x   Section 943.03, Florida Statutes - Department of Law Enforcement
      x   State Comprehensive Emergency Management Plan, 2024
      x   State Comprehensive Emergency Management Plan, Appendix XVI: Emergency Support
          Function 16 – Law Enforcement and Security
      x   The Florida Mutual Aid Plan for Law Enforcement; Guidelines for Emergency Response
      x   Annex to the State Comprehensive Emergency Management Plan: Mass Immigration
          Emergency Plan

   Roles and Responsibilities
   Federal Partners
   Department of Homeland Security
   The Department of Homeland Security (Annex B) is the head organization tasked with immigration
   enforcement. The US Coast Guard, Homeland Security Investigations, Customs and Border Patrol,
   and Enforcement Removal Operations are all supporting agencies within DHS.

   Immigration and Customs Enforcement
   Immigration and Customs Enforcement (ICE) is DHS’s premier law enforcement agency, mitigating
   transnational threats and safeguarding the United States. ICE is the parent agency for Homeland
   Security Investigations and Enforcement Removal Operations.

   Unites States Coast Guard
   United States Coast Guard (USCG) is an agency within DHS and has been part of the unified
   command for HSTF-SE since its inception in support of OVS. As the new immigration enforcement
   mission has been moved within the scope of OVS, USCG will continue to support both missions as a
   leading agency.

   Homeland Security Investigation
   Homeland Security Investigation (HSI) is a law enforcement agency within US Immigration and
   Customs Enforcement (ICE) that conducts federal criminal investigations into the illegal movement
   of people, goods, money, contraband, weapons, and sensitive technology into and out of the United
   States. In cooperation with their DHS counterparts and Florida state agencies, HIS is supporting the
   intelligence and data collecting operations based out of the Joint Intelligence Operations
   Coordination Center (JIOCC) and Field Coordination Center (FCC).

   Customs and Border Patrol
   US Customs and Border patrol (CBP) is the unified border agency within the Department of
   Homeland Security charged with the management, control and protection of our nation's borders at
   and between oƯicial ports of entry. CBP staƯs the JIOCC and FCC as well as assists as needed in the
   field during detaining and deportation missions.

   Enforcement and Removal Operations
   Enforcement and Removal Operations (ERO) is a law enforcement agency within ICE manages all
   aspects of the immigration enforcement process, including the identification, arrest, detention, and



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   removal of all illegal aliens who are subject to removal or are unlawfully present in the United States.
   ERO is the lead agency at the FCC in coordination with its federal partners.

   Homeland Security Taskforce-Southeast
   Homeland Security Taskforce Southeast (HSTF-SE) (Annex C) was established in 2003 and serves as
   the DHS lead for operational and tactical planning, command and control, and as a standing
   organization to deter, mitigate, and response to maritime mass migration in the Caribbean Sea and
   the Florida Straits. HSTF-SE is bringing its decades long experience in immigration enforcement to
   assist in the current immigration enforcement operation.

   Board of Immigration Enforcement
   Pursuant to section 908.1031, Florida Statutes, the Executive Director of the State Board of
   Immigration Enforcement shall coordinate and cooperate with the federal government in the
   enforcement of federal immigration laws and other related matters. The Executive Director shall also
   assist and coordinate with law enforcement agencies in the enforcement of these laws and monitor
   compliance by local governments.

   Local Law Enforcement Immigration Grant Program
   The Local Law Enforcement Immigration Grant Program was created within the State Board of
   Immigration Enforcement to award grants to support local law enforcement agencies, which include
   chief correctional oƯicers operating county detention facilities, in their cooperation and coordination
   with federal immigration agencies in the enforcement of federal immigration laws. The board shall
   award any funds specifically appropriated for the program to reimburse expenses or issue bonus
   payments as provided in this section.

   Florida Division of Emergency Management
   The Florida Division of Emergency Management is the coordinating agency in the State of Florida for
   the development and implementation of the State Emergency Response Team (SERT) which is
   comprised of all resources, personnel, and equipment at the state and local levels of government
   which could conceivably be used to respond and recover from an emergency event. In addition, the
   SERT has a significant connection with various private non-profit organizations and private sector
   companies.

   Forward SERT Incident Management Team
   The Forward State Emergency Response Team (FSERT) Incident Management Team (Annex A) serves
   as the forward coordination element of the SERT under the command of the State Coordinating
   OƯicer (SCO). It operates as the State Emergency Operations Center (SEOC) under the coordination
   of the FSERT IMT IC within the predefined area of operation with fully delegated authority to manage
   all missions and resources on behalf of the SERT. The FSERT provides resources and technical
   assistance in support of local tactical operations.

   The FSERT IMT is led by an Incident Commander (IC), who is responsible for the overall management
   of all aspects of the incident, to include ensuring a safe and coordinated response. The FSERT IMT IC
   determines the necessary general staƯ positions based on operational needs. The general staƯ of
   the IMT will expand and contract based on the scale of operations being coordinated through the



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   Regional Law Enforcement Coordination Teams (RLECTs) (Annex D), the number of partner agencies
   involved, and the amount of logistics support needed.

   For Immigration Enforcement Operations, the minimum staƯing for the FSERT IMT includes an
   Incident Commander, Operations Section Chief, Planning Section Chief, Logistics Section Chief, and
   Finance Section Chief. Additionally, representatives from the Florida National Guard and Florida
   Department of Law Enforcement will be included to coordinate resource requests through the
   RLECTs.

   Preferred staƯing on the FSERT IMT includes agency representatives from key federal agencies to
   directly coordinate requests for resources and facilitate streamlined information sharing across
   partners. As operations expand to involve more tactical coordination and additional state agency
   partners, operational branches will be established and staƯed by executing state agency
   representative partners.

   Agency Representatives
   As additional capabilities are identified across state agencies, representation from those agencies
   will be requested on the FSERT IMT. Each representative should be an Emergency Coordination
   OƯicer or a subject matter expert with decision-making authority on behalf of their agency.

   Florida Department of Law Enforcement
   Per section 943.03(14), Florida Statutes, the Florida Department of Law Enforcement is responsible
   for coordinating with and providing assistance to the federal government in the enforcement of
   federal immigration laws, responses to immigration enforcement incidents within or aƯecting this
   State, and other matters related to the domestic security of Florida as it relates to terrorism and
   immigration enforcement incidents, shall coordinate and direct the law enforcement, initial
   emergency, and other initial responses.

   Regional Law Enforcement Coordination Team (RLECT)
   As outlined in the State Comprehensive Emergency Management Plan (CEMP), FDLE will establish
   Regional Law Enforcement Coordination Teams (RLECTs) to assume tactical management of in-
   place and deployed state law enforcement and mutual aid resources to assist local law
   enforcement.

   The RLECT will coordinate with the deployed law enforcement resources as needed to execute
   missions.

   Florida Highway Patrol
   Florida Highway Patrol (FHP) assists with vehicle monitoring and traƯic stops that, through the 287(g)
   program, allow troopers to enforce certain aspects of immigration law. Within ESF 16, FHP reports to
   FDLE in order to coordinate its immigration enforcement activities.

   Florida Fish and Wildlife Conservation Commission
   Florida Fish and Wildlife Conservation Commission (FWC) has had a presence in the OVS mission
   since its inception and has a continued presence in the intelligence operation as well as the field
   operations. Within ESF 16, FWC reports to FDLE in order to coordinate its immigration enforcement
   activities.

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   Florida SheriƯ’s Association
   The Florida SheriƯ’s Association (FSA) provides support as the coordinating body of the state’s local
   law enforcement operations. Through the 287(g) program, the FSA and its members are a force
   multiplier and a constant local presence that allows for a comprehensive approach to immigration
   enforcement. Local sheriƯ oƯices are supplying equipment and personnel as well as identifying any
   available space within their detention facilities that could be useful in the immigration enforcement
   operation.

   Florida National Guard
   When directed by Executive Order, the Adjutant General of Florida coordinates, employs and controls
   trained Florida National Guard (FLNG) forces in order to assist civil authorities with the protection of
   life and property, and to maintain peace, order, and public safety. The FLNG is currently active under
   two Florida Executive Orders, providing aviation support to state law enforcement to sight and report
   migrants approaching the Florida coastline and supporting the Department of Corrections with
   service members at critically low manned facilities.

   FLNG may expand their operations under either of these executive orders to prove a force multiplier
   to the state to support an increase in immigration enforcement operations. In addition to personnel,
   FLNG maintains property throughout the State of Florida that can be used for detention facilities,
   operational bases, or staging as needed to support operations.

   Concept of Operations
   In accordance with the Executive Director of the Board of Immigration’s mission to find, sort, detain,
   and deport illegal aliens within the State of Florida, the State of Florida is prepared to execute the
   following actions to support the federal immigration enforcement operation. Multiple state agencies
   have combined resources in a joint intelligence operation with the goal of finding illegal aliens and
   creating target packages for enforcement teams. This enforcement support occurs in the form of
   targeted operations, integrated patrol operations, and enhancing the ongoing OVS operations.

   State and local law enforcement have and will continue to become 287(g) certified in order to
   increase their immigration enforcement capabilities to detain individuals suspected of entering the
   country illegally. These law enforcement agencies, in coordination with CBP and ERO have also
   oƯered equipment and personnel to transport individuals between ICE detention facilities. The State
   has also oƯered to supplement the federal detention facilities capabilities through the use of existing
   logistics vendors.

   The Florida National Guard has oƯered JAGs to be trained as immigration judges to expedite the legal
   process at the request of the federal government. The State of Florida also has multiple vendors
   prepared to support flying individuals out of the country if requested.

   Intelligence
   Florida deployed representatives from the Florida Division of Emergency Management, Florida
   Department of Law Enforcement, Florida Fish and Wildlife Conservation Commission, Florida
   Highway Patrol, Florida National Guard, Florida Department of Corrections, Florida Department of
   Agriculture and Consumer Services, and the Florida Department of Health, to support the
   intelligence sharing operations in regard to illegal aliens conducted by DHS partners.

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    Two concurrent intelligence operations are being run out of the same location at the HSI Miami
    OƯice, the Field Coordination Center (FCC) and the Joint Intelligence and Operations Coordination
    Center (JIOCC). State agency representatives are either co-located within the facility or remain on-
    call to provide data from existing state databases. This support enables federal partners to identify
    and prioritize individual cases for field action.

    FCC
    The FCC is a multi-agency coordination center led by ERO and staƯed by HSI that is tasked with
    collecting data on illegal aliens including last known addresses, criminal history, and final order
    status, vetting said data and tasking it to field teams who execute removal missions. The scope of
    this coordination center is limited to targeting individuals identified at the federal level as a priority
    ERO target for removal.

    JIOCC
    The JIOCC in Miami is a multi-agency coordination center staƯed with personnel from multiple DHS
    components including U.S. Customs and Border Patrol, Homeland Security Investigations, and the
    U.S. Coast Guard and is co-located with the FCC. The JIOCC’s primary responsibility is to act as a
    unified control center between responding agencies. The JIOCC operates in a similar function to the
    FCC but is primarily focused on supporting the HSTF-SE with the ongoing Operation Vigilant Sentry
    mission. The JIOCC can be utilized outside of the federal ERO mission to build target packages based
    on information from any partner.

    Federal Enforcement Support
    Federal partners under DHS have been directed to enhance their current immigration enforcement
    operations. These agencies lack funding and resources in order to meet their target performance
    measures. The State of Florida has the ability to provide resources in both personnel, equipment,
    and contracted services to support these missions upon request from federal partners.

    Potential for federal support operationally may consist of providing law enforcement personnel to
    assist in the enforcement of immigration operations conducted by CBP and ERO throughout the
    state. These missions consist of targeted operations and patrols and could be performed by law
    enforcement oƯicers who are not 287(g) certified as there would be federal law enforcement with the
    necessary authority present during the operation.

    Targeted Operations
    ERO, in conjunction with HSI through the FCC, is building target packages for ERO to execute through
    their field oƯices. State and local law enforcement agencies can provide additional personnel to
    these teams regionally through the RLECTs to enhance their capabilities. These operations would be
    coordinated and managed through ERO.

    CBP may also conduct targeted operations. The JIOCC may utilize information from CBP or state
    agencies in order to develop target packages to drive these operations. Target operations with CBP
    would be coordinated with ERO upon the arrest of individuals but would fall outside of FCC
    jurisdiction.

    Proposed actions for integrated target operations:


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       x   Research state and federal database systems to develop criminal alien targets
       x   Conduct joint enforcement operations to arrest criminal alien targets
       x   Analyze federal and state license plate reader data to target alien smugglers

    Patrol Operations
    CBP currently conducts patrol operations under the authority of OVS and through their own
    jurisdictional authority throughout the state. These patrols include monitoring ports of entry,
    highways, marinas, etc. State and local law enforcement agencies could provide personnel to
    support these patrol operations to increase coverage throughout the state.

    Proposed actions for integrated patrol operations:

       x   Highway interdiction operations to target the smuggling of illegal aliens on ingress and egress
           routes throughout the state
       x   Immigration inspections at the State agricultural checkpoints
       x   Immigration screenings at/before airport checkpoints to identify illegal aliens and seize
           proceeds of smuggling organizations


    OVS Enhanced Operations
    The State of Florida is presently operating under Executive Order 23-03 and its subsequent
    extensions to support OVS in surveillance and apprehension of migrants. If further action should be
    requested of the State, FDEM would be able to expand its current footprint and responsibilities under
    authorities outlined in the Operation Vigilant Sentry plan and the Mass Migration Annex of the Florida
    State CEMP.

    Missions currently include air and marine patrols by FWC, FLNG, and FDLE, and the USCG and CBP.

    Proposed actions for enhanced OVS operations:

       x   Coordinate maritime enforcement assets to cover gaps and enhance deterrence
       x   Supplement air patrols to support maritime enforcement eƯorts
       x   Deploy additional technology for enhanced maritime surveillance
       x   Increase Law Enforcement’s beach and marina patrols
       x   Conduct tactical checkpoints/boardings in inlets and marinas to identify evaders of foreign
           arrival reporting requirements

    FDEM maintains a base camp in Marathon, FL to house law enforcement oƯicers and can be scaled
    to support additional oƯicers as necessary.

    Florida Immigration Enforcement under 287(g)
    Through the 287(g) program, state and local law enforcement oƯicers collaborate with the federal
    government to enforce federal immigration laws. This allows law enforcement agencies to enforce
    certain aspects of U.S. immigration by expanding the agencies authority to identify and process
    removable aliens with pending or active criminal charges, enforce limited immigration authorities
    with ICE oversight during routine duties, and service and execute administrative warrants on
    removable aliens in jails. A list of State and Local agencies who have signed Memorandums of
    Agreements can be found in Annex E.

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    The 287(g) program has three models, the Task Force Model, the Jail Enforcement Model, and the
    Warrant Service OƯicer Program.

    287(g) Task Force Model
    Many agencies within Florida have established memorandums of agreement with ICE to follow the
    Task Force Model. This allows oƯicers to enforce limited immigration authority while performing
    routine police duties, such as identifying an alien at a DUI checkpoint and sharing information
    directly with ICE. These oƯicers may also exercise limited immigration authority as active
    participants in ICE-led task forces.

    Agencies may be limited in their scope of authority as some 287(g) agreements require an ICE agent
    be present during many of the operations needed to conduct a comprehensive immigration
    enforcement operation. If the federal government loosens or clarifies the requirement for supervision
    or direction, then participating agencies will not be limited in their scope.

    287(g) Jail Enforcement Model
    The Jail Enforcement Model allows state and local law enforcement oƯicers to identify and process
    removable aliens currently in local jail or detention facilities who have pending or active criminal
    charges while in custody.

    287(g) Warrant Service OƯicer Program
    As part of the Warrant Service OƯicer Program, ICE trains, certifies and authorizes state and local law
    enforcement oƯicers to serve and execute administrative warrants on aliens currently in custody.

    Interior Transportation
    State law enforcement agencies, in coordination with the Florida SheriƯ’s Association, have
    organized plans to assist federal immigration agencies transport illegal aliens within the State of
    Florida. These agencies are able to oƯer both prison transport vans as well as drivers to support
    movement from one ERO or CBP facility (Annex F) to another in order to expedite the deportation
    process.

    Each FDLE region has a designated FDLE, FSA, and ICE contact that are ready to coordinate
    transportation missions that occur within their jurisdiction. There is also a system already in place
    for reporting data from these missions to FDLE in order to track information such as the number of
    individuals transported as well as the number of transports run and by which state or local agencies.
    This operation has the capability to scale up and down as needed depending on requests made by
    the individual ERO and CBP oƯices. Cost estimates can be found in Annex G.

    Detention Facility Operations
    The State of Florida has identified several brick-and-mortar locations in the northeastern and south-
    central regions of the state that could serve as detention centers (see Annex J for an example). By
    leveraging any of the twelve (12) established Emergency Logistics Contract vendors, FDEM can
    retrofit these sites with wraparound services to ensure compliance with the National Detention
    Standards set by the United States Immigration and Customs Enforcement. This approach is
    preferred as the state enters hurricane season, as it helps reduce operational costs and expedites
    readiness. To support a seamless detention and deportation process, these potential locations are
    typically located near airstrips.

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    Additionally, upon request, the same 12 vendors have the capacity to establish detention
    centers capable of housing up to 10,000 undocumented aliens and necessary support staƯ at
    locations designated by the State of Florida or the federal government. These facilities can be
    fully operational within 72 hours and require up to 96 hours to begin setup. Each detention center
    would adhere to ICE’s National Detention Standards, including ADA compliance, facilities for
    laundry, screening, showering, food services, waste services, lodging (i.e., bedding, linens, etc.),
    medical services with periodic health checks & food inspections and a pharmacy, and other
    requirements. Additionally, if the federal government were to provide locations or expand current
    facilities capabilities, the State of Florida has that hybrid site approach experience and can replicate
    it if requested.

    To expedite the establishment of additional detention centers in support of federal operations, DHS
    could issue waivers for certain requirements, as it has done in the past. For example, DHS previously
    granted the State of Texas exemptions from specific laws and regulations to accelerate the
    construction of barriers and roads under section 102 of the Illegal Immigration Reform and Immigrant
    Responsibility Act of 1996. A similar waiver for select ICE detention standards—such as
    requirements for barber services or dining facilities that do not meet current federal specifications—
    would streamline the setup of detention facilities.

    Voluntary Deportation Coordination
    As Florida has done in the past, an available course of action is to oƯer voluntary self-deportation to
    induvial currently in Florida illegally. Not only is this avenue the least fiscally demanding course of
    action available, as this could be carried out using commercial airlines, but it also reduces the
    burden on the ongoing local, state, and federal law enforcement operations. The Florida Division of
    Emergency Management is able to supply personnel to assist with purchasing commercial flights for
    eligible individuals, limited to those that do not have a criminal record.

    Considerations for this course of action include a legal review for all necessary documentation for
    this process, ensuring individuals who are participating understand the perimeters of this program,
    as well as how to ensure that individuals that volunteer for this program do not return to the United
    States. However, the United States Immigration and Customs Enforcement (ICE)must specifically
    request assistance and must reimburse the State for actual costs.

    Judicial Review
    FLNG
    The Florida National Guard has 9 field-grade Judge Advocate General’s Corps oƯicers (JAGs) suitable
    for training as Immigration Judges. Training and investiture fall under the Department of Justice (DOJ,
    not DHS) Executive OƯice for Immigration Review (EOIR), and takes 6 weeks inclusive of a written
    test from the date of attachment to DOJ. To serve as Immigration Judges, JAGs must be federally
    activated (Title 10) to exercise immigration authority; JAGs could not support in State Active Duty
    under the command of the Governor and would be directed/stationed at the needs of the federal
    government.

    Deportation Transportation
    The State of Florida has multiple vendors on standby and are ready to support transportation of
    undocumented aliens. FDEM vendors have the ability to transport small to large quantities of

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    individuals and have the ability to fly from Florida to a detention center or their nation of origin.
    Pursuant to section 908.13, Florida Statutes, FDEM is authorized to facilitate the transport of
    undocumented aliens, consistent with federal law. However, the United States Immigration and
    Customs Enforcement (ICE) must specifically request assistance and must reimburse the State for
    actual costs.

    Current Operations and Pathways Forward
    Due to the previously mentioned limitations that have been exhibited by the federal government’s
    response as part of the immigration enforcement operations, there may be a need to act
    independently of DHS and create a Florida led operation. Below are the concerns that have been
    observed that will potentially inhibit a successful federal and state joint operation.

    Current Actions
    As mentioned through this plan, the State of Florida is currently involved in the following immigration
    enforcement activities:

       x   Supporting state and local law enforcement oƯicers becoming 287(g) certified
       x   Leveraging state and local resources to assist in the transportation of illegal aliens between
           detention facilities
       x   OƯering judicial assistance in the form of FLNG JAGs suitable for training as immigration
           judges
       x   Coordinating with vendors to transport individuals out of the United States at the request of
           ICE
       x   Utilizing the limited existing state facilities that are up to federal regulation standards to work
           as detention centers to supplement the existing ICE detention capacity
       x   Utilizing existing state agency databases to assist ICE in vetting and developing criminal alien
           targets
       x   StaƯing the FCC and JIOCC in order to maintain situational awareness and information-
           sharing between state and federal partners


    Preliminary Potential Actions
    In support of President Trump’s fight against the “deep state” within federal agencies, the State of
    Florida with a waiver of certain federal regulations could circumvent federal agency bureaucracy, and
    these are some of the additional actions that could be operationalized:

       x   Authorize all 287(g) certified oƯicers to function as fully empowered immigration oƯicers.
           This would enable the State to bypass the operational bottleneck caused by the limited
           availability of ICE personnel.
       x   Waive federal detention facility requirements to expand housing capacity for arrested
           individuals. Current standards, as outlined in Annex H and Annex I, limit detention space.
           Waiving select requirements would significantly increase the State’s capacity to detain
           individuals.
       x   Utilize existing logistics vendors to establish additional detention space. If the State chooses
           to forgo the federal detention sites as well as the federal detention standards, logistics
           vendors are prepared to rapidly deploy detention facilities statewide.


                                                                                                           14

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        x   Create a command structure led by the state that empowers coordinating oƯicers to act
            without prior federal authorization. Due to the limitations of the current Federal Executive
            Order, there has been a lack of leadership coming from the federal government that could be
            supplemented if the state of Florida were to assume operational control and enabling timely
            decision-making.

    Detention Facility Capabilities
    We believe that the nature and vast scope of the illegal alien presence deserves a rethinking of
    detention processes and standards. Recently, Secretary of State Rubio publicly announced that the
    Administration was amenable to waiving the usual rules for publication, and public comment waiting
    times needed to post regulatory and procedural changes in the Federal Register, thus allowing
    changes to be effected immediately.

    To this end, we encourage suspension of the National Detention Standards (NDS) presently in use by
    ICE's Enforcement Removal Operations (ERO) division. The NDS is used to determine which state or
    local facilities can be used to temporarily house detainees. The standards are so limiting that many
    county jails cannot meet the standard even though they are otherwise accredited by the American
    Correctional Association. It is anomalous that facilities adequate to confine U.S. citizens are not
    deemed adequate to house illegal aliens. This self-limiting proposition works against achieving the
    President's goals. It also drives up detention costs by making transportation and logistics more
    complex and cumbersome, and the daily bedspace capacity minimal for lack of a sufficient number
    of approved facilities.

    To obviate the existing choke-point, DHS could post an announcement in the Federal Register stating
    that, effectively immediately and for the duration of the President's emergency declaration, the NDS
    will be suspended. The announcement could also state explicitly that despite suspension, aliens
    will be treated humanely; that their health needs will be attended to; and that detention facilities will
    still strive to ensure officer and detainee security, while maintaining public safety.

    NDS suspension would not only open up bedspace in innumerable county jails to house arrested
    aliens but also pave the way to set up soft-side detention as needed and desirable, for instance to
    provide for detention colocation next to Federal- or State-owned landing/takeoff runways that could
    be used to establish routine air corridors to those nations routinely receiving repatriated illegal
    aliens. This would be especially useful in prompt removal of aliens under unexecuted Final Orders
    of Removal.

    The State of Florida has demonstrated that is has the ability to quickly increase state assets to
    facilitate and streamline the process of identifying and arresting illegal aliens. There is, however, a
    major chokepoint in terms of detention. At its current state, ICE is overwhelmed with the number of
    detainees that have been arrested prior to the state assisting with the process. With the state’s
    assistance, this number will grow by multitudes, which will likely become unsustainable if ICE were
    to remain operating at its current state. Many of the individuals arrested by state and local law
    enforcement will be forced to be released due to the lack of space in ICE detention facilities.

    287(g) Shortcomings
    While the 287(g) program is a valuable tool for empowering state and local law enforcement to
    support immigration enforcement, it imposes limitations on their authority. Although certified

                                                                                                          15

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    oƯicers are permitted to arrest individuals and investigate their immigration status, those individuals
    must ultimately be transferred to ICE for processing. This requirement creates yet another
    bottleneck. As a result, the volume of transfers may quickly exceed ICE’s operational capacity.

    A more robust and diversified authority also exists. Leveraging oƯ of the President's Executive Order,
    the DHS Secretary could invoke Section 103(a)(10) of the INA, 8 U.S.C. Section 1103(a)(10), which
    permits—

    any State or local law enforcement oƯicer...to perform or exercise any of the powers, privileges, or
    duties conferred or imposed by this chapter or regulations issued thereunder upon oƯicers or
    employees of the [Department]...

    One of the stumbling blocks that we perceive exists in the detention section of the overall removal
    cycle. At present, the Federal government does not possess adequate bedspace capacity for its
    ambitious, and long overdue, enforcement strategy. While this can be mitigated by better, quicker
    through-put in physical repatriation—an important factor—it still poses a choke-point to be
    addressed.

    Reimbursement
    Florida has invested significant resources deploying law enforcement and the National Guard to
    secure the southern coastline of Florida as well as the Texas/Mexico border. The federal government
    has shown itself to be very hesitant to commit to any form of reimbursement to past or future
    immigration operations. There may come a time when, without federal assistance, a long-term
    immigration support mission may become fiscally untenable.




                                                                                                        16

                                                                                              Exhibit A
            Annex A - Organization Chart to Support Full Plan Activation

                                                                                                  Policy Group                                                                            Currently
                                                                                                                                                                                           Active



                                                                                                                                                                                         FSERT IMT

                                                                                                                                                                                           ESF 16




                                                                                                               Joint Information                                                        Other Partner
                                                                                          begal         rT |        Center




                                                                                                    FSERT IMT IC




                                                                                        FSERT IMT
                                                                                        Deputy IC       rT |          BIO


                                I                                             lt                                                             I

                                                                        Planning and                                                     Logistics                                  Finance and
                        Operations
                                                                         Intelligence                                                                                             Administration



             Enhanced LE             Federal LE              Intelligence          inorEsnoD                                       Transportation                                            Grant
              Operations              Support                   Branch             eee                  Lorgang Branch                 Branch               Serre Daa             |       Management



             _   Enhanced OVS          RLECT Regions   | +           nocc                               |_| Lodging Support                      Internal
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                   Support




             Local     287(g)                           =             FCC                               =         Facilities       |_|      Deportation     |_| Communications}   |_|    Administrative
                                                                                                                                          Transportation              Unit                  Support




Exhibit A
                                                                                                                                                                                                           17
                                                                                                                                                                                                                Case 1:25-cv-22896-JEM Document 24-1 Entered on FLSD Docket 07/03/2025 Page 17 of 37
                  Annex B - DHS Organization and ICE HSTF Organization


                                                                                                                         HOMELAND                       SECURITY                        INVEST
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                                                                                                                         ex


                                                                                      ESTABLISHMENT           OF              HOMELAND                  SECURITY                  TASK            FORCES                (HSTF)


                                                                                  Security Council (NSC) is directing the creation of a Homeland Security Task Force (HSTF) network. The Secretary of Homeland
                                                                                  Securityand the AttorneyGeneral are directedto take all appropriateaction to jointlyestablishIISTFs in all statesnationwide—to include
                                                                                  the establishmentof a national command center to coordinatelaw enforcementactivitiesof the HSTFs, provide supportas required,and
                                                                                  direct nationatlevel priorities aligned with the EO. This whole-ot-government approach will include representatives from feder
                              Department of                                       s
                            Homeland Security
                                  (DHS)
                                                                                                                                                                                                         I                                                                            ployed
                  I                                             ]                                                                                            ;                                                                                        »      leve                  Ts ope rating

            United States                               Immigration and                    :                                                        $   es                                                   :                nel          ex arge, additional TISTFs        me
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                               Customs         and          Customs                            ¢      s              i                     F                          vide:                       ~              >      ste                    qmenting otherexistinglaw enforcement
            Coast Guard
                            Border    Patrol    (CBP)   Enforcement   (ICE)                                                                                                                                                                    task forces with interagency personnel.
               (USCG)

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                                                                                                          tructure                                                                       /


                                                          Homeland Security
                             —|        -BererPatrot     | Investigations (HSI)                                                  Cabinet-level officials: chaired by the Secretary of Homeland Sccunty and co-chaired by the
                                                                                                                                Attomey General with additonal      participation from the Directce of National Intelligence, the
                                                                                                                                Secretary of Defense, the Secretary of Treasury, and the Sceretary of Si


                                                                                                                                Deputy   Director-kvel official designated by                                                 HSTF Princgak    to         represent their respective
                                                                                                                                Department and/or     Agency Heads.    The ESC                                   will         be chaired by HSI           and co-chaired with the
                                                                                                                                Federal Bureau of Investigation     (FRM.
                             —
                                      Office of Field   —
                                                               Enforeement
                                                                 Removal
                                     Operations (OFO)        Operations (ERO)                                                   Fstabished m all 30 [ISI SAC offices, the ESSCs will report directly to the FSC. Fach FSSC
                                                                                                                                will be chaired by an HSI Specml Agent in Charge (SAC) and co-chaired by an FBI SAC.


                                                                                                                                                                                              NATIONAL               COMMAND                CENTER

                                                                                          The LISTF National
                                                                                       Command Ceater(NCC),
                                                                                                                                                                                                                                                                             p Support
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                                                                                                                                     Staicgr                     Data Integration                                                                              Personnel                 Legal
                                                                                                                                                                                                      Enforcement
                                                                                                                                                                                                                                                             Security Unk
                                                                                                                                    Targeting &                                                       Transnational                    Weapons                      Poly &          Budget &
                                                                                                                                     Analysis                                                            Gangs                         Trafficking             Panning             Performance

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                                                                                                                                                                                                                                            bas             Development
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Exhibit A
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                                                                                                                                                                                                                                                                                                   Case 1:25-cv-22896-JEM Document 24-1 Entered on FLSD Docket 07/03/2025 Page 18 of 37
            Annex C - HSTF-SE Organizational Chart

                                                                                      Incident
                                                                                    Commander




                                                                                       Deputy IC




                                                            Resiliency
                                                                                                                 Liaison Officer
                                                           Coordinator



                                                                                                             Senior Legal
                                                                            PIO
                                                                                                                Advisor



                                                                                             Special Assistant
                                                          Visitor Bureau                           US Attorney




                                          Operations       Intelligence                                    Planning Section         Finance Section
                                                                                  Logistics Section              Chief                    Chief
                                          Section Chief      Section



                           Maritime                         Air Branch                   Medical Unit              Resource Unit            pTaneRT ea
                                          Land Branch
                        Branch Director                       Director                      Leader                      Lead




                                                                Deputy Air         _                               Situation Unit    }]_|
                                                             Branch Director                 aes                         Lead                 Awards


                                                                 CBP AMO                  Supply Unit              Document Unit            After Action
                                                                  Liaison                    Leader                     Lead                  Reporter




                                                                                                            |        HRSS/RESL




Exhibit A
                                                                                                                                                           19
                                                                                                                                                                Case 1:25-cv-22896-JEM Document 24-1 Entered on FLSD Docket 07/03/2025 Page 19 of 37
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    Annex D
    Annex      RDSTF Map
          D -– RDSTF              Jurisdictions
                            RLECT Jurisdictions
                     Map // RLECT




                                                                      Exhibit A
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    Annex E - 287(g) Participating Agencies
    State Agencies
                                                                                       Date MOA
                                Agency                        287(g) Support Type       Signed

     Balada                    of Agriculture and Consumer     ‘Tack Force Model       3114/2025

     Florida Department of Corrections                       Jail Enforcement Model    8/21/2020
     Florida Department of Financial Services                    Task Force Model      3/25/2025
     Florida Department of Highway Safety and Motor
     Vehicles, Division of Highway Patrol                      Task Force Model         21712025
     Florida Department of Law Enforcement                     Task Force Model        2/14/2025
     Florida Fish and Wildlife Conservation
     Caninigeion                                               Task Force Model        2/14/2025
     Florida National Guard                                    Task Force Model         4/2/2025
     Florida State Guard                                       Task Force Model        3/19/2025
     Florida Gaming Control Commission                         Task Force Model        4/24/2025
     Florida Department of Business and Professional           Task Force Model        4/24/2025
     Regulation


    Counties
                                                                                         Date MOA
                                Agency                         2879(g) Support Type       Signed

                          .       .                          Warrant Service Officer     2/24/2025
     Alachua County Sheriff's Office                         Tack Force Model            7126/2025

     Raker ‘County SherirsOnice                              Warrant Service Officer    10/15/2019
                                                             Task Force Model            2/26/2025
                       ;                                     Warrant Service Officer    10/15/2019
     Bay County Sherr s Mee                                  Task Force Model            2/26/2025
                           .                                 Warrant Service Officer    10/15/2019
     Bradford County Sheriff's Office                        Task Force Model           7/26/2025
                          :       :                          Warrant Service Officer      5/6/2019
     Brevard County Sheriff's Office                         Tack Force Modal            5124/2025
                           .       .                         Warrant Service Officer      9/9/2019
     Broward   County Sheriffs Office                        Task Fores Model            7126/2025

                          :       :                          Warrant Service Officer      9/9/2019
     Calhoun County Sheriff's Office                         Task Force Model            3126/2025
                                 .                           Warrant Service Officer     5/6/2019
     Charlotte County Sheriff's Office                       Taek Force Modal            7126/2025

      .                    .                                 Warrant Service Officer     2/26/2025
     Cats Sony Shes Ome                                      Task Force Model            2/26/2025
                                                             Jail Enforcement Model      3/11/2020
     Clay County Sheriff's Office                            Warrant Service Officer     2/24/2025
                                                             Task Force Model            2/26/2025
          .               :                                  Jail Enforcement Model       6/9/2020
     Collier County Sheriff's Office                         Task Force Model            7124/2025



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                                                 Warrant Service Officer    5/6/2019
     Columbia County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     DeSoto County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer    2/24/2025
     Dixie County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Task Force Model           2/26/2025
     Escambia County Sheriff's Office
                                                 Warrant Service Officer    2/26/2025
                                                 Warrant Service Officer    9/9/2019
     Flagler County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Franklin County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer    2/26/2025
     Gadsden County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Task Force Model           2/26/2025
     Gilchrist County Sheriff's Office
                                                 Warrant Service Officer    2/26/2025
                                                 Warrant Service Officer    2/26/2025
     Glades County Sheriff's Office
                                                 Task Force Model           2/26/2025
     Gulf County Board of County Commissioners   Warrant Service Officer    2/26/2025
     Gulf County Sheriff's Office                Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Hamilton County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer    2/26/2025
     Hardee County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Hendry County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer    5/6/2019
     Hernando County Sheriff's Office            Jail Enforcement Model     6/9/2020
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Highlands County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer    2/26/2025
     Hillsborough County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Holmes County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Indian River County Sheriff's Office
                                                 Task Force Model           2/26/2025
     Jackson County Correctional Facility        Warrant Service Officer    2/26/2025
     Jackson County Sheriff's Office             Task Force Model           2/26/2025
                                                 Jail Enforcement Model     6/9/2020
     Jacksonville Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Jefferson County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Lafayette County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Warrant Service Officer   10/15/2019
     Lake County Sheriff's Office
                                                 Task Force Model           2/26/2025
                                                 Task Force Model           2/24/2025
     Lee County Sheriff's Office
                                                 Warrant Service Officer    2/26/2025

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                                                  Jail Enforcement Model     3/3/2025
                                                  Warrant Service Officer   10/15/2019
     Leon County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    5/6/2019
     Levy County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    9/9/2019
     Liberty County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    9/9/2019
     Madison County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    5/6/2019
     Manatee County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Marion County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    1/22/2020
     Martin County Sheriff's Office
                                                  Task Force Model           2/26/2025
     Miami Dade Corrections and Rehabilitation    Warrant Service Officer    2/26/2025
     Miami Dade Sheriff's Office                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Monroe County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Nassau County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    2/26/2025
     Okaloosa County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Okeechobee County Sheriff's Office
                                                  Task Force Model           2/26/2025
     Okeechobee Police Department                 Task Force Model           3/17/2025
     Orange County Corrections Department         Warrant Service Officer    2/26/2025
     Orange County Sheriff's Office               Task Force Model           2/26/2025
     Osceola County Corrections Department        Warrant Service Officer   10/15/2019
     Osceola County Sheriff's Office              Task Force Model           2/26/2025
                                                  Warrant Service Officer    2/26/2025
     Palm Beach County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    2/26/2025
     Pasco County Board of County Commissioners
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    4/24/2019
     Pinellas County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    5/6/2019
     Polk County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Putnam County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     Santa Rosa County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    5/6/2019
     Sarasota County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer    9/4/2019
     Seminole County Sheriff's Office
                                                  Task Force Model           2/26/2025
                                                  Warrant Service Officer   10/15/2019
     St. Johns County Sheriff's Office
                                                  Task Force Model           2/26/2025
     St. Lucie County Sheriff's Office            Warrant Service Officer    2/19/2025

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                                                          Task Force Model            2/26/2025
                                    :        ,            Warrant Service Officer     10/15/2019
     Sumer COUnyy: Snagit Ss CHNCe                        Task Force Model            2/26/2025
                           .       .                      Warrant Service Officer     10/15/2019
     Suwannee County Sheriff's Office                     Task Force Model            7126/2025
                            :                             Warrant Service Officer     10/15/2019
     er eee                             es                Task Force Model            2/26/2025
        .               .                :                Warrant Service Officer     2/26/2025
     nnien County enembs ics                              Task Force Model            2/26/2025
     Volusia County Division of Corrections               Hea TA Seas Geet AEs        Sees
                                                          Task Force Model            2/26/2025
                          :                               Warrant Service Officer     10/15/2019
     Wakulla County Sheriff's Office                      Task Force Model            7126/2025
                                .                         Warrant Service Officer      5/6/2019
     Wallon Comer cnelirs Smee                            Task Force Model            2/26/2025
          ;                 :       :                     Warrant Service Officer     2/26/2025
     Washington County Sheriffs Office                    Taek Force Modal            7/26/2025



    Municipalities
                                                                                    Date MOA
     Agency                                             2879(g) Support Type         Signed

     Arcadia Police Department                          Task    Force   Model        3/5/2025
     Belleair Police Department                         Task    Force   Model       2/28/2025
     Blountstown Police Department                      Task    Force   Model        3/5/2025
     Boca Raton Police Department                       Task    Force   Model       3/25/2025
     Bradenton Police Department                        Task    Force   Model       3/25/2025
     Chattahoochee Police Department                    Task    Force   Model       2/28/2025
     Clearwater Police Department                       Task    Force   Model       2/28/2025
     Clermont Police Department                         Task    Force   Model        3/5/2025
     Cocoa Beach Police Department                      Task    Force   Model       3/25/2025
     Coral Gables Police Department                     Task    Force   Model        3/7/2025
     Davie Police Department                            Task    Force   Model        3/7/2025
     Daytona Beach Shores Public Safety                 Task    Force   Model       3/10/2025
     Deland Police Department                           Task    Force   Model        3/5/2025
    |Edgewood Police Department                         Task Force Model            4/14/2025
     Eustis Police Department                           Task    Force   Model        4/2/2025
     Fort Walton Beach Police Department                Task    Force   Model       2/28/2025
     Green Cove Springs Police Department               Task    Force   Model       4/10/2025
     Gulfport Police Department                         Task    Force   Model       2/28/2025
     Havana Police Department                           Task    Force   Model       4/10/2025
     Highland Beach Police Department                   Task    Force   Model       4/10/2025
    |High Springs Police Department                     Task Force Model            3/25/2025
     Holmes Beach Police Department                      Task   Force   Model       4/10/2025
     Indian Harbour Beach Police Department              Task   Force   Model       4/10/2025
     Indian River Shores Department of Public Safety   | Task   Force   Model        3/5/2025
     Indian Shores Police Department                     Task   Force   Model       2/28/2025
     Juno Beach Police Department                        Task   Force   Model        3/7/2025
     Jupiter Inlet Colony Police Department              Task   Force   Model       3/10/2025

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     Jupiter Island Department of Public Safety   Task Force Model   3/25/2025
     Jupiter Police Department                    Task Force Model   3/26/2025
     Kenneth City Police Department               Task Force Model   2/28/2025
     Key Colony Beach Police Department           Task Force Model   4/10/2025
     Key West Police Department                   Task Force Model    3/5/2025
     Lady Lake Police Department                  Task Force Model   4/10/2025
     Lake Placid Police Department                Task Force Model   2/28/2025
     Lighthouse Point Police Department           Task Force Model    4/2/2025
     Lynn Haven Police Department                 Task Force Model   2/24/2025
     Marianna Police Department                   Task Force Model    3/5/2025
     City of Miami Springs Police Department      Task Force Model    4/2/2025
     Naples Police Department                     Task Force Model    3/3/2025
     Orlando Police Department                    Task Force Model   3/26/2025
     Oviedo Police Department                     Task Force Model   3/26/2025
     Palm Beach Gardens Police Department         Task Force Model    3/5/2025
     Panama City Beach Police Department          Task Force Model   2/26/2025
     Panama City Police Department                Task Force Model   2/28/2025
     Pinellas Park Police Department              Task Force Model   2/28/2025
     Sanibel Police Department                    Task Force Model    4/2/2025
     Springfield Police Department                Task Force Model   2/28/2025
     St. Augustine Beach Police Department        Task Force Model    3/3/2025
     St. Augustine Police Department              Task Force Model   2/28/2025
     St. Petersburg Police Department             Task Force Model   2/28/2025
     Sunny Isles Police Department                Task Force Model   3/10/2025
     Sweetwater Police Department                 Task Force Model   3/26/2025
     Tallahassee Police Department                Task Force Model   3/10/2025
     Tampa Police Department                      Task Force Model   2/28/2025
     Tarpon Springs Police Department             Task Force Model   2/28/2025
     Tavares Police Department                    Task Force Model   3/17/2025
     Tequesta Police Department                   Task Force Model    3/7/2025
     Town of Palm Beach Police Department         Task Force Model    3/7/2025
     Treasure Island Police Department            Task Force Model    3/7/2025
     Venice Police Department                     Task Force Model   3/17/2025
     Vero Beach Police Department                 Task Force Model   3/26/2025
     West Miami Police Department                 Task Force Model   3/26/2025
     Winter Garden Police Department              Task Force Model    4/2/2025




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    Annex F - Federal Facilities
    Custom               and Border Patrol Stations

                  Location                                                                              Address                          said
                                                                                                                                         Region
     Jacksonville Station                                                          Redacted pursuant
                                                                                BinteveleVerceYoM                to section
                                                                                                  oll esi0r-Talencoiet-1e1 le):   an       3

     Orlando Station                                                  119.07 1(2)(d), Florida Statutes
                                                                                      119.071(2)(d), Florida Statutes.                     5
     Tampa Station                                                    __                                                                   -
     West Palm Station                                                Po                                                                   7
     Dania Beach Station                                              [t~—“.. CY                                                           7
     Marathon Station |                                                                                                                    7
    CBP Common                      Operating Picture

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                SCAM          tempo
                              poe                          HOLMES   (
                   f SANTA posi J OKALOOSA WALTON |                 FqacKson
                                                           ee I
                                         foe                WASHINGTON, |     Sf
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    Enforcement and Removal Operations Facilities
    ERO Offices

           Location                                       Address                              REStE
                                                                                               Region
     ERO Stuart                              [Redacted  pursuanttoto section
                                              Redacted pursuant      section                     7
     ERO Tampa                                PUTA, ronda STATUES
                                               119.071(2)(d), Florida Statutes.
                                                                                                 4
     ERO Miramar                              es                                                 7
     ERO Fort Myers                            Td                                                6
     ERO Orlando                               Ld                                                5
     ERO Tallahassee
     ERO Jacksonville
                                     ee PO                                                       23

    ERO Detention Facilities

                        Location                                    Address                    Rest
                                                                                               Region
     Baker County Detention Center                    Redacted   pursuant to
                                                      Redacted pursuant       section!
                                                                           to section            3
     Broward Transitional Center                  |   119.071(2)(d),  Florida  Statutes. |
                                                      119.071(2)(d), Florida Statutes.           7
     FDC Miami
     Glades County Detention Center                   PO
                                                            Tr                                   76
     Krome North Service Processing Center            Po                                         7




                                                                                                        27.

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                     Redacted pursuant to section
                     119.071(2)(d), Florida Statutes.




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     Statutes.




     Redacted pusuant to section 119.071(2)(d), Florida Statutes.




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    additional cost to the State as long as they are able to be absorbed into their day-to-day operations
    and no overtime is incurred from working these activities.
    S        Wide    M        Aid T

    SMAA Law Enforcement Support Teams could be utilized if FLNG or law enforcement is unable to absorb
    these responsibilities as a part of their day-to-day operations.
   ERENT
    Redacted pursuant to section 119.071(2)(d), Florida Statutes. This includes personnel costs, per diem,
   lodging, equipment, and materials.

    OPS Staff
    The Division could hire 42 OPS Staff to serve as drivers for this effort at $30 an hour. This would take the
    longest to execute of these options but would allow for longer sustained operations if necessary.

    Transportation Contracted Including Labor
    Includes team drivers, services available 24/7 within the State of Florida, fueling & maintenance, fully
    staffed by qualified inmate transport personnel.

                         Vehicle                  Daily Cost Estimate     Estimate for 21 vehicles for 14 days
        49 Passenger Bus retrofit into inmate          $150,000                       $44,100,000
        transport vehicle*
        49 Passenger Bus                               $55,000                        $16,170,000
        12 Passenger Van                               $25,000                         $7,350,000
    *Several weeks lead time on retrofit of bus




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    Annex H – Detention Center Standards
    Safety
    Safety includes environmental health and safety and transportation by land.

    Environmental Health and Safety standards at a detention facility maintain the standards for
    cleanliness and sanitation, safe work practices and control of hazardous substances and
    equipment. Standards and procedures include hazardous substances, emergency response,
    significant event notification requirements, fire prevention and control, pests and vermin, facility
    water supply certification, emergency electrical power generator, specific areas of the facility to
    include barber operations and medical operations, and general environmental health conditions
    including facility conditions, housekeeping, and refuse.

    Transportation By Land refers to the facility taking all reasonable precautions to protect the lives,
    safety, and welfare of the detainees, oƯicers, other personnel, and the general public during ground
    transportations. Detainees being transported from one facility to another institute or jurisdiction will
    be transported in a safe and humane manner under supervision of trained and experienced
    personnel. A transportation plan must be in place before departure to include weather and road
    conditions and any other relevant considerations. Information on the detainees will be transferred to
    the receiving facility to include name, date of birth, sex, nationality, etc. The transporting oƯicer is
    responsible and shall comply with all state and federal motor vehicle regulations including, and not
    limited to, wearing a seat belt when the vehicle is morning, holding a valid Commercial Driver’s
    License (CDL), transporting detainees in a safe and humane manner, etc. The seating of the
    detainees must have a policy and implementing procedures governing the seating in transportation
    vehicles. Minors must be separated from unrelated adults at all times and seated in an area of the
    vehicle near oƯices and under close supervision.

    Security
    Security includes admission and release, custody classification, facility security and control, funds,
    and personal property, hold rooms, post orders, searches of detainees, use of force and restraints,
    special management units, staƯ-detainee communications, and sexually abuse and assault
    prevention and intervention.

    Admission and Release includes the procedures for processing detainees into and out of the facility.
    During admission process, detainees shall undergo screening for medical, sexual abuse prevention,
    and suicide risk evaluation purposes, files must be reviewed for classification purposes, submit to a
    standard body search, and inventory of all personal belongings. During the release of a detainee, they
    will return all facility issued items (clothing, bedding, etc.), participate in an identification verification
    procedure, and complete documents in accordance with facility procedures.

    Facility Security and Control includes protection of the communities, staƯ, contractors, volunteers,
    and detainees form hard by ensuring facility security is maintained. A facility shall ensure it maintains
    suƯicient supervision of detainees through appropriate staƯing levels, video monitoring where
    applicable. Security inspections and perimeter controls are expected to keep the control of
    contraband, prevent escapes, maintain safety and security, and eliminate fire and safety hazards are
    expected. Population counts must be implemented to ensure the accountability of all detainees,


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    both formal and informal counts. Key and lock controls must be established in compliance with
    OSHA and National Fire Protection association requirement, including procedures for controlling
    gun-locker access.

    Hold rooms in detention facilities may be used for the temporary detention of individuals awaiting
    removal, transfer, immigration court hearings, medical treatment, intra-facility movement, or other
    processing into or out of the facility. They must be located within the secure perimeter and must
    contain suƯicient seating for the maximum room capacity. The facility must be in compliance with
    the applicable federal and state accessibility standards. A detainee may not be held in a hold room
    for more than 12 hours. All male and female adults should be separated regardless of if they are
    married, and minors must be separated from any unrelated adults unless proven that the adult is
    their guardian or parent. Holding rooms for a single occupant shall contain a minimum of 37 square
    feet. Multiple occupants hold rooms should provide an additional 7 square feet of unencumbered
    space for each additional detainee.

    Orders
    Orders include the disciplinary system which includes the safe and orderly living environment for
    detainees by establishing fair and equitable disciplinary system, requiring detainees to comply with facility
    rules and regulations, and imposing disciplinary sanctions on those who do not comply.

    Care
    Care includes the food services, hunger strikes, medical care, personal hygiene, significant self-harm and
    suicide prevention and intervention, terminal illness and death, and disability identification, assessment,
    and accommodation.

    Food Services includes the detainees shall be provided nutritious, attractively presented meals, and
    prepared and served in a sanitary and hygienic food service operation. Ordinarily detainees shall be
    served 3 meals every day, with 2 being hot meals. The facility administrator may approve variations
    in the food service schedule during religious and civic holidays, provided that basic nutritional goals
    are met. No more than 14 hours between the evening meal and breakfast may occur. Clean, potable
    drinking water must be available. Meals shall always be prepared, delivered, and served under staƯ
    or contractor supervision. Religious and special diets must be taken into consideration, unless
    stated otherwise.

    Medical Care includes that an adequate space and equipment will be furnished so that all detainees
    are provided basic health examinations, treatment, and communication in private. Medical records
    will be kept separate from the detainee records and must be stored in a securely locked area. Dental
    treatment includes an initial dental screening exam that shall be performed within 14 days of the
    arrival of the detainee. If a dentist is not on-site, the exam can be performed by a physician, physician
    assistant, nurse practitioner, or registered nurse.

    Personal Hygiene includes the issuance of clothing, bedding, linens, blankets, and towel supply on
    a regular basis as well as the accountability of the items by the detainees. Detainees should be
    provided with clean clothing, linens, and towels on a regular basis to ensure proper hygiene. Socks
    and undergarments will be exchanged daily, outer garments at least twice weekly, and sheets,
    towels, and pillowcases at least weekly. Detainees should receive personal hygiene items and the
    facility shall replenish items at no cost on a needed basis.

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    Activities
    Activities include correspondence and other mail, recreation, religious practices, telephone access,
    visitation, and voluntary work programs.

    Recreation shall be provided to the detainees including recreational programs and activities within
    the constraints of the safety and security of the facility. If an outdoor recreation is available, it shall
    be oƯered at a reasonable time of day, weather permitting, access for at least one hour per day, five
    days a week. If only indoor recreation is available, detainees shall have access for at least one hour
    each day and shall have access to natural light.

    Religious practices shall be accommodated without discrimination with the possibility of including
    language services if needed. A chaplain or individual designated as the religious services
    coordinated would be responsible for managing religious activities at the facility. An adequate space
    for practices shall be designated based on the detainee population.

    Justice
    Justice includes detainee handbook, grievance system, law libraries and legal materials, and legal
    rights group presentations.

    Law Libraries and Legal Materials must be accessible to detainees. A law library shall be provided in
    a designated room or area that will have suƯicient space and resources to facilitate detainees’ legal
    research and writing. Hours of access shall be flexible, and detainees must be able to visit the library
    for a minimum of 5 hours per week during a reasonable time of day.

    Administrations and Management
    Administration and Management include detention files and detainee transfers.




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    Annex I – Holding Facility informationIn accordance with Standard 2.5 (pages 31-33) of the National
    Detention Standards (2019)

    Holding Facilities
    A holding facility can be used for temporary detention of individuals awaiting removal, transfer,
    Executive oƯice of immigration review immigration court hearings, medical treatment, intra-facility
    movement, or other processing into or out of the facility.

    Physical conditions
    A holding facility must have the following:

       x   Has to be located within a secure perimeter
       x   Single occupant
       x   A minimum of 37 square feet (7 feet unencumbered square feet, 5 for a combination
           lavatory/toilet, 25 for wheelchair turnaround)
       x   Multi- occupant
       x   Provide an additional 7 square feet of unencumbered space for each individual
       x   Well ventilated, well lit, and allow for convenient visual checks
       x   SuƯicient seating, for max room capacity (capacity must be posted outside room)
       x   Bunks, cots, beds, or other are not permitted inside hold rooms by exception of those who
           are ill, minors, and pregnant women.
       x   All hold rooms should be equipped with:
       x   Handwashing and potable water
       x   Toilets shall allow for an appropriate amount of privacy
       x   No toilet, shift supervisor should at all times position an oƯicer within sight or earshot of the
           hold room to provide detainees with regular access to the toilet facilities
       x   Detainees shall be monitored appropriately while using the restrooms
       x   In compliance with state and federal standards


    Time Limits and Restrictions
       x   A holding facility cannot be held for more than 12 hours.
       x   An unaccompanied minor (under 18), persons over 70, females with children, and family
           groups will not be placed in hold rooms unless they have shown or threatened violent
           behavior, have a criminal conviction involving violence, or have given staƯ articulable ground
           to expect an escape attempt.
       x   A person may be exempt from hold rooms due to obvious illness; special medical, physical,
           and/or psychological needs; or other documented reasons shall be seated in designated
           area outside the hold room under direct supervision. These individuals can be held in
           separate rooms under supervision.
       x   Adult males and females shall be segregated at all times, even if married.
       x   Minors (under 18) will be held apart from adults, unless the adult is an immediate relative or
           recognized guardian, and no other adult detainees are present in the hold room and no safety
           concerns are present.
       x   Shall be provided basic personal hygiene items such as toilet paper, water, disposable cups,
           soap, feminine hygiene items, diapers, and sanitary wipes.


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    Basic Operation Procedures
       x   An oƯicer will visually assess every individual before placing them in the hold room, checking
           for any disabilities, concerns, or special needs.
       x   Must maintain a log which records custodial information about all detainees placed in and
           removed from hold rooms.
       x   A meal must be provided for any adult in the hold room for more than 6 hours. Juveniles will
           receive meal services regardless of time in custody. A log should be kept providing a record
           of when food is provided for everyone.
       x   Juveniles, babies, pregnant women, and others for whom it is medically necessary shall have
           regular access to snacks, milk, juice, etc. They should also be provided with access to
           temperature-appropriate clothing and blankets.
       x   StaƯ will ensure sanitation and temperatures in hold rooms are maintained at acceptable
           levels.
       x   Closely supervise the hold rooms through direct supervision. Irregular visual monitoring not
           to exceed 15 minutes between checks. Records of time and name of oƯicer should be kept
           when checks are made.
       x   Constant surveillance of any detainee exhibiting signs of hostility, depression, or similar
           behaviors. Notification to a supervisor in the case this occurs.
       x   Notify emergency medical providers or services when a detainee appears to be in need of
           emergency medical treatment.
       x   When the last detainee has been removed, the room shall be given a thorough cleansing and
           safety inspection.


    Detainee Search
       x   Every detainee shall undergo a pat-down, search for weapons or contraband.
       x   Sharp objects (pens, pencils, knives, nail files, etc.) that could be used as a weapon shall be
           removed from possession.
       x   Opposite sex pat-down of male detainees shall not be conducted, unless after reasonable
           diligence, male staƯ is not available at the time, or in exigent circumstances.
       x   Opposite sex pat-down searches of female shall not be conducted unless under exigent
           circumstances.
       x   All opposite sex searches must be documented.
       x   If the pat-down search indicates the need for more thorough search, a strip search shall be
           conducted. Must be the same sex to perform search or in the presence of another oƯicer of
           the same sex.




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    Annex J – Camp Blanding Improvements for Detention Center
    Camp Blanding has provided the following for areas of improvement in order to use the facility as a
    detention center in accordance with the National Detention Standards (2019).

    Food Service Support
    Food Service Support for approximately 4 meals a day, 2 of which must be served hot, for 1,000
    individuals and support staff. The existing dining facilities might work, but facilities most likely will
    not meet the Federal Standards.

        x   For a workable facility, each block has a kitchen with a dining area. Conceptually, the
            detainees would have to cycle through. A schedule would be created on when each block is
            being fed.

    Safety


              Redacted pursuant to section 119.071(3)(a), Florida Statutes.




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    Specific Building Facilities
    A full medical facility to support up to 1,000 personnel with periodic health checks and food
    inspections. This medical area must also have a pharmacy.

        x   The use of existing buildings/structures may be able to be used but would be requesting
            medical equipment and personnel to be fully functional.

    A space for barber operations within the facility or confined area must be available. Depending on
    how the Camp Blanding is separated for each of the required facilities and areas (such as separating
    of female and male detainee areas), a building should be provided for barber operations.

        x   Personnel and equipment would be requested to be fully operational and within
            compliance of standard.

    A behavioral health facility has not been identified with existing buildings. Showers, bathrooms, and
    all other facilities to support detainees with disabilities are also not existent with current facilities.

        x   Construction of a building would have to occur due to the given lock in/ lock down
            requirements.
        x   Construction or provided facility that adheres to the detainees with disabilities would be
            requested.

    A facility that can house and secure appropriate safes/storage for transfer of funds, valuables, and
    personal property may be provided depending on how the footprint of buildings/facilities are split up.

        x   If a building can be provided, personnel and equipment will be requested to be fully
            operational.

    Contractual Requirements
    A facility for laundry has been identified and will be able to use. PAX would be required to wash
    laundry to include clothing and bedding. A schedule would be created for laundry services of all
    items including bedding, towels, and uniforms.

        x   FDEM can request contracting staff for laundry services, but FLNG can require PAX for
            laundry services.

    Detainees are required 1 pillow, 1 blanket, 1 towel, 2 sheets, and 1 pillowcase.

        x   A linen contract would need to be placed for items.

    Canine units may be used for contraband detection but may not be used in the presence of
    detainees.



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        x   A contract for support or MOU with local law enforcement for canine units (contraband)
            would need to be placed.

    Garbage and refuse must be collected, stored, and removed from common areas at least daily and
    as often as necessary to maintain sanitary conditions.

        x   A contract for garbage and refuse to include medical/biohazard waste will be needed to be
            fully operational.




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